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                         Exhibit C
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  From: PII
Subject: Application download
   Date: November 14, 2024 at 4:47 AM
     To: support@feelthemusi.com


       Hello, I would like to ask about the possibility of downloading an app from
       outside the App Store. Is that possible?

       About a week ago, I found out that the app was removed from the App
       Store, and unfortunately, I had to reinstall iOS, which erased all data from
       my phone, including this app. I also had purchased the premium
       version of the app, which was ad-free.

       I would be very grateful if something could be done about this. The app is
       great and very easy to use.
       Best regards,
       PII
       Sent from my iPhone
